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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                     )
                                              )       ORDER DENYING SECOND
               Plaintiff,                     )       RENEWED MOTION TO AMEND
                                              )       ORDER FOR PRETRIAL DETENTION
       vs.                                    )
                                              )
Robert Raymond Althaus,                       )       Case No. 4:15-cr-122
                                              )
               Defendant.                     )

       Before the Court is a "Second Renewed Motion to Amend the Order for Pretrial Detention"

filed by the defendant on February 22, 2017. The defendant is requesting to be released to a

residential reentry center pending his sentencing hearing on June 26, 2017. The basis for his request

is that he has had no "write ups" since he was first detained in August 2015, that no issues arose

when the Court temporarily released him in April 2016, and that he have an opportunity to find

employment and if released.

       The Court is not inclined to order the defendant's release at this time. First, it does not

appear that there has been a material change in the defendant's circumstances. Second, there is no

space currently available for the defendant at either Centre, Inc. or the Bismarck Transition Center.

Third, the defendant’s continued detention is mandated by statute.

       The defendant has entered a guilty plea to the offense charged in Count One of the

Indictment: conspiracy to distribute and possess with intent to distribute 500 grams or more of a

mixture and substance containing a detectable amount of methamphetamine. This offense carries

a maximum term of imprisonment of life and a 10 year mandatory minimum term of imprisonment

       Title 18 of the United States Code, Section 3143(a) provides that a defendant who has been

found guilty of an offense under the Controlled Substances Act with a maximum term of

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imprisonment of ten years or more must be detained unless “(A)(I) the judicial officer finds there

is a substantial likelihood that a motion for acquittal or new trial will be granted; or (ii) an attorney

for the Government has recommended that no sentence of imprisonment be imposed on the person;

and (B) the judicial officer finds by clear and convincing evidence that the person is not likely to flee

or pose a danger to any other person or the community.”

        Here, the defendant cannot satisfy any of the § 3143 criteria. He has entered a guilty plea

pursuant to a plea agreement executed by the parties. This agreement contains an appeal waiver by

the defendant and a sentencing recommendation by the Government of a term of imprisonment at

the low end of the Sentencing Guideline range or the minimum mandatory sentence, whichever is

greater.

        Accordingly, the defendant’s “Second Renewed Motion to Amend the Order for Pretrial

Detention” (Docket No. 543) is DENIED.

        IT IS SO ORDERED.

        Dated this 1st day of March, 2017.

                                                        /s/ Charles S. Miller, Jr.
                                                        Charles S. Miller, Jr., Magistrate Judge
                                                        United States District Court




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